Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 1 of 9




                   Exhibit 13
                 Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 2 of 9
Janos Technology Inc.          Contact       Devin Standard
55 Black Brook Road            Position      Senior Account Manager
Keene, NH 03431-5044           Telephone     603.313-2502
603.757.0070                   Facsimile     603.757.0069
www.janostech.com              Email         devin.standard@janostech.com


Customer : Hitek International                                                       Date:                      5/23/12

                                                                                     Janos Quote #:             20126126 V2


Contact:
Naum Morgovsky
[naummorgovsky@yahoo.com]
                                                                                      Please include reference number on the purchase order
751Laurel Street #518
                                                                                                      and all correspondence.
San Carlos, CA 94070



         TERMS                           DELIVERY                            SHIPPING                      QUOTATION EXPIRES

   See attached document                  See below               Common Carrier, FOB Keene                           30 Days

  Item Number        QTY                               DESCRIPTION                                       Unit Price             Total Price
                               50 mm EFL athermalized, fixed-focus, AR coated lens assembly, Tau
   416105-001          1       interface                                                                   $1245                  $1245

   416105-001          5       50mm EFL lens elements(no assembly) for 416105-001, AR coating
                                                                                                            $949                  $5475
   Lenses Only
   415854-001          1       30mm EFL lens elements(no assembly), front element w DLC
                                                                                                            $599                   $599
   Lenses only
    41585-001                  50mm EFL lens elements (no assembly) for 41585-001, TWS-MC,
                           1                                                                                $999                   $999
   Lenses only                 Front element w DLC
    41629-001          1       30mm EFL, athermalized, fixed-focus lens assembly, Tau interface
                                                                                                           $1199                  $1199
                               640x480 + NRE
    41585-001          1       50mm EFL TWS-MC lens assembly, Tau interface                                $1445                  $1445
    41584-001          1       30mm EFL TWS-LC lens assembly, Tau interface                                $1200                  $1200
                                                          Grand Total




                                                              Page 1 of 8
                  Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 3 of 9
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                                                               Specifications
Part Number: 41605-001
Type: Thermal Lens Assembly, athermalized, Ge
Focal Length: 50mm
F#: 1.2
Wavelength: 8-12 µm
FOV: 12.5 deg

Lens Components
Lens A:
Diam: 49.0m
CT: 5.0mm
Curve Shape: Asphere
Lens B:
Diam: 29.0mm
CT: 5.0
Curve Shape: Asphere


Part Number: 41584-001
Type: Thermal Weapon Sight Lens Assembly, athermalized, Ge with DLC(diamond like coating)
Focal Length: 30mm
F#: 1.0
Wavelength: 8-12 µm
FOV: 20 deg

Lens Components
Lens A:
Diam: 35.0m
CT: 3.0mm
Curve Shape: Asphere
Lens B:
Diam: 24.0mm
CT: 2.0
Curve Shape: Asphere




                                                                Page 2 of 8
                  Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 4 of 9
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Part Number: 41585-001
Type: Thermal Weapon Sight Lens Assembly, Ge with DLC(diamond like coating)
Focal Length: 50mm
F#: 1.2
Wavelength: 8-12 µm
FOV: 12.5 deg

Lens components
Lens A:
Diam: 49.0m
CT: 5.0mm
Curve Shape: Asphere
Lens B:
Diam: 35.0m
CT: 5.0mm
Curve Shape: Asphere


Part Number: 41629-001
Type: Thermal Lens Assembly, athermalized, Ge
Focal Length: 30mm
F#: 1.0
Wavelength: 8-12 µm
FOV: 20 deg

Lens specs TBD

LEAD TIME

5units 50mm AR Lenses for 416105-001- 4 Week lead time ARO
1 unit AR coated 41605-001 lens assembly- 4 week lead time ARO
1 unit DLC & AR coated lens set for 50mm EFL TWS-MC 41585-001- Order place this week, 2wk lead time, otherwise 8 weeks
1 unit DLC & AR coated lens set for 30mm EFL TWS-LC 41584-001- 4 week lead time ARO
1 unit 30mm EFL, athermalized, fixed-focus lens assembly, Tau interface 640x480( + $1,200 NRE)- 8-10week lead time ARO
1 unit 41585-001, 50mm EFL Thermal Weapon Sight lens assembly- 2 Week lead time ARO(same as ATN)
1 unit 41584-001, 30mm EFL Thermal Weapon Sight lens assembly- 2 Week lead time ARO(same as ATN)




                                                               Page 3 of 8
                   Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 5 of 9
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                                     This quote is valid for 30 days unless otherwise specified.
NOTES:
  1. Terms are Net 30, upon credit approval
  2. Estimated delivery is a best effort estimate. A more accurate delivery will be given ARO.
  3. The above quote does not include any delays or expenses associated with obtaining an export license should one be
      required.
  4. Change in quantities may result in an increase in price.
  5. All information is current. Lead times subject to change daily.
  6. NRE charge for 41629-001 is $1,200
  7. Lenses sold without assembly may not perform up to Janos quality level as athermalization, positioning, and interface with the detector
        cannot be guaranteed
    8.  DLC= Diamond Like Coating
    9.  Warning: This document contains technical data whose export is controlled under the International Traffic in Arms Regulations(ITAR).
        Export or transfedr of this information to a foreign person or foreign entity requires an export license issued by the US State Department
    10. Average transmission = or > 90%




                                                                   Page 4 of 8
                  Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 6 of 9
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Customer : Hitek International                                                              Date:                        5/23/12

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                                                        TERMS AND CONDITIONS
  For purposes of these Terms and Conditions of Sale, the term “contract” shall mean the agreement between Janos Technology Incorporated
  (hereinafter referred to as “JTI”) and Buyer arising as a result of Buyer’s submission of an order for JTI products, as hereinafter defined, and
  JTI’s acceptance of said order. Any such contract shall be deemed to incorporate and be governed by these Terms and Conditions. These
  Terms and Conditions shall take precedence over any terms and conditions that appear in Buyer’s order or in any documents incorporated by
  reference in Buyer’s order. No term or condition contained in Buyer’s order or other documentation of Buyer additional to or different from
  these Terms and Conditions shall become part of the contract unless expressly referenced and agreed to in writing by an authorized officer of
  JTI at its principal office in New Hampshire. Retention by Buyer of any products delivered by JTI, or payment by Buyer of any invoice
  rendered hereunder shall be conclusively deemed acceptance of these Terms and Conditions. JTI’s failure to object to any provision contained
  in any communication from Buyer shall not be construed as a waiver or modification of these Terms and Conditions nor as an acceptance of
  any such provision.

  1.   ACCEPTANCE
       A) Acceptance of buyer’s purchase order is based on buyer accepting over-runs or under-runs not exceeding ten percent of the quantity
       ordered, unless otherwise agreed to in writing by the parties hereto.
       B) All sales contracts become effective when the buyer’s purchase order is accepted in writing by JTI.

  2.   LIMITED WARRANTY; DISCLAIMER OF WARRANTIES.
       A) JTI warrants that the goods sold hereunder (i) shall be free from defects in workmanship or material for one (1) year following delivery
       of the same to buyer and (ii) shall meet the written specifications and documentation provided by JTI for the same; provided that, a) if the
       goods are custom ordered by buyer, the goods will meet the requirements requested by buyer that are accepted in writing by JTI and b) if
       material is provided by the customer as CSM, the material is compliant to all customer and JTI specification requirements. JTI accepts no
       liability for damage to customer supplied material in handling or manufacture.
       B) JTI further warrants that goods delivered hereunder will be manufactured in accordance with all applicable laws, ordinances and
       regulations.
       C) JTI’s liability for breach of warranty shall be limited to, in JTI’s sole discretion, (i) repairing or replacing goods that JTI determines do
       not conform to the foregoing warranty, or (ii) refunding the sales price received by JTI in respect of the non¬conforming goods.
       Notwithstanding the foregoing, all warranty claims must be submitted in writing to JTI within t he applicable warranty period and all
       non¬conforming goods must be returned to JTI, at buyer’s cost and expense, before JTI replaces the same or refunds the purchase price to
       the buyer.
       D) Recommendations by JTI, if any, covering the use, utilization properties and/or qualities of goods sold hereunder are believed reliable
       but JTI makes no warranty whatever with respect thereto. use or application of goods sold hereunder is at the discretion of the buyer
       without any liability or obligation on the part of JTI except as expressly warranted by JTI.
       E) These warranties are in lieu of any and all other warranties, express or implied, arising by law or custom, including, but not limited to,
       the implied warranty of merchantability and the implied warranty of fitness for a particular purpose, as these terms are defined in the
       uniform commercial code.
       F) Limitation of liability, except as provided in section 7(d), JTI shall not be liable to buyer or any person claiming by or through buyer
       for any direct, indirect, consequential or other damages of any type or nature arising out of the products provided to buyer by JTI
       hereunder.




                                                                    Page 5 of 8
                  Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 7 of 9
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Customer : Hitek International                                                              Date:                       5/23/12

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  3.   PRICE
       A) JTI reserves the right to revise any price quoted without notice to buyer, at any time prior to acceptance of buyer’s purchase order by
       JTI unless other pricing arrangements are indicated in writing and approved by JTI.
       B) JTI’s prices do not include sales, use, excise or similar taxes, and accordingly, in addition to the price specified herein, the amount of
       any sales, use, excise or other similar tax applicable to the sales of goods hereunder shall be paid by buyer, or in lieu thereof. Buyer shall
       provide JTI with a tax exemption certificate from the appropriate taxing authority.
       C) The minimum order value accepted by JTI is $250.00. If any order is received for value less than $250.00, then the minimum charge of
       $250.00 will be applied to the order.
       D) JTI reserves the right to notify the buyer of a price increase where the price of raw materials increases by more than 5% from the
       market price applicable when the order was accepted and at any time prior to the due date of the contract.
       E) JTI reserves the right to charge interest where any payment becomes overdue compared with the contractually agreed payment date and
       for the period that the payment is overdue at the rate of the daily equivalent of the Prime Rate plus 5%.
       F) JTI reserves the right to add a reasonable charge for packaging and handling of the goods to the agreed price of the goods supplied
       under this contract.

  4.   DAMAGES
       A) Any delays in or failure of performance by JTI shall not constitute default or give rise to any claims for damages if and to the extent
       caused by circumstances beyond JTI’s control, such as, but not limited to, acts of god; rules or regulations of governmental authority;
       strikes or other concerted acts of workmen; fires, floods, explosions, riots, war, rebellion, terrorism or sabotage.
       B) In no event shall JTI be liable for incidental and/or consequential damages incurred by buyer by reason of the breach by JTI of any
       obligation incurred by JTI hereunder.
       C)If the performance of the work hereunder is based upon the Buyer furnishing Buyer’s property, the JTI shall not be liable for any loss or
       damage while parts are in process, except if the loss or damage is the result of negligence or other willful acts on the part of JTI. JTI shall
       not be obligated to insure material furnished to JTI by the Buyer. NOTE: Delivery dates are subject to adjustment if customer furnished
       material does not arrive by the mutually agreed upon date.

  5.   SHIPMENTS
       A) Shipment dates are based upon JTI’s best judgment, are subject to factory schedules and production limitations, and hence are not
       guaranteed.
       B) All goods will be shipped FOB Janos Technology Inc. A handling fee for all orders shipped will apply. The responsibility for any
       damages or losses arising during transit of goods will be the responsibility of the customer.
       C) Claims for shortages, etc. shall not be accepted by JTI unless they are made by buyer in writing within forty-eight hours after delivery
       of the goods, and are accompanied by a reference to JTI’s shipping slip number.
       D) In addition to any other legal remedy, if buyer fails to fulfill the terms of payment, JTI may defer further shipment of goods or may, at
       its option, cancel the shipment of any other goods purchased by buyer from JTI. Hereunder or under any other order or written agreement
       or understanding between buyer and JTI, including, but not limited to, the balance of the applicable order.
       E) JTI reserves the right prior to making any shipments of goods to request from buyer satisfactory security for performance of buyer’s
       obligations hereunder.

  6.   CHANGES, CANCELLATIONS
       A) Specification changes made after buyer places an order are subject to price adjustments and buyer will reimburse JTI for all loss and
       expenses incurred by JTI arising out of such change.




                                                                   Page 6 of 8
                  Case 3:16-cr-00411-VC Document 116-13 Filed 09/19/17 Page 8 of 9
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Customer : Hitek International                                                               Date:                        5/23/12

                                                                                             Janos Quote #:               20126126 V2


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       B) Cancellations shall be by mutual agreement in writing, provided that buyer will reimburse JTI for all loss and expenses incurred by JTI
       arising out of such cancellation.

  7.   GENERAL; INTELLECTUAL PROPERTY.
       A) When furnished, designed, developed and/or manufactured by JTI, tools and/or dies, together with incidental fixtures and materials
       necessary for the manufacture of goods ordered, shall remain the property of JTI. All tools, dies, fixtures and/or materials will be
       maintained for one year after shipment.
       B) Unless otherwise agreed to in writing by JTI, JTI shall own all right, title and interest in and to the patent, design and other intellectual
       property rights in and to all products sold to buyer hereunder, and nothing contained herein shall give buyer any right to utilize any such
       intellectual property in any manner whatsoever except in connection with buyer’s use of the applicable product in accordance with the
       documentation for the same provided by JTI.
       C) Goods are sold to accepted manufacturing variations or tolerances, except when otherwise agreed to by both parties. Goods are sold to
       accepted manufacturing variations or tolerances, except when otherwise agreed to by both parties.
       D) Except for goods that are manufactured to specifications provided by buyer, JTI represents and warrants that buyer’s use of the
       products sold by JTI hereunder in accordance with JTI’s specifications and documentation for the same will not infringe upon any United
       States patent. JTI will defend, indemnify and hold buyer harmless of, from and against any and all claims and expenses, including court
       costs and attorneys fees, arising out of JTI’s breach of this section; provided that, JTI will have no obligation to indemnify buyer for any
       claims arising out of (i) buyer’s use of the products in combination with any process or other products, or (ii) any drawings or
       specifications provided by buyer. In connection with the products.
       E) If buyer provides specifications or drawings for the product to JTI, buyer represents and warrants t o JTI that JTI’s use of the same in
       the manufacture of the products for buyer will not infringe upon the patent, design, trade secret or other intellectual property rights of any
       person, and buyer agrees to defend, indemnify and hold JTI harmless of, from and against any and all claims and expenses, including
       court costs and attorneys fees, arising out of buyer’s breach or alleged breach of this section.

  8.   NOTIFICATION OF QUERIES AND COMPLAINTS
       A) Notification of queries and/or complaints must be notified to JTI verbally or in writing within seven (7) days of receipt of goods and/or
       invoice: whichever is the latter. Failure to notify JTI within this period of time will constitute unconditional acceptance of the goods.

  9.   RETENTION OF TITLE
       A) Title to the invoiced goods will only pass to the customer when full payment of the invoice is received by the supplier.

  10. LAW
      A) The sale of the goods between the buyer and JTI shall be governed by the state of New Hampshire.
      B) The construction, validity, and performance of this Agreement shall be governed by the laws of New Hampshire.
      C) In the event of a default of this agreement, these terms and conditions of sale shall be governed by the laws of the state of New
      Hampshire.

  11. MEASUREMENT AND TESTING OF GOODS SOLD
      A) JTI specifies the test equipment and/or test method(s) used in measurement of the dimensions and specifications of the requested goods
      in the quotation stage as filled out in a Quality Test Matrix document, and upon the JTI acknowledged Customer purchase order for said
      goods, JTI reserves the right to use superior test equipment and/or superior test methods than were identified in the quotation stage.
      B) In the event that test methods, deliverable data, etc. are not specified, than these items will default to JTI standard methods.




                                                                    Page 7 of 8
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